 The court incorporates by reference in this paragraph and adopts as the findings and orders
 of this court the document set forth below. This document has been entered electronically in
 the record of the United States Bankruptcy Court for the Northern District of Ohio.




                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR18THE
       Dated: November    2021NORTHERN DISTRICT OF OHIO
                               WESTERN DIVISION
                                               Case No. 21-31507

In re: Commonwealth Business Credit, LLC                         Chapter 7
                Debtor.
                                                           Judge JOHN P. GUSTAFSON
 AGREED ORDER ON (1) THE OBJECTIONS FILED BY THE TRUSTEE AND SERIES
 10 OF CADENCE GROUP PLATFORM, LCC TO THE MOTION FOR RELIEF FROM
   STAY AND ABANDONMENT FILED BY WATERFORD BANK, N.A. AND (2) THE
  LIMITED OBJECTION FILED BY WATERFORD BANK, N.A., TO THE TRUSTEE’S
                                 MOTION FOR TURNOVER
       This matter is before the Court on the following matters:
                  (1) the Motion for Relief from Stay and Abandonment filed by Waterford Bank,
                  N.A., (“Waterford”) (Doc. No. 33), and the Objections thereto filed by the
                  Trustee, Ericka Parker (“Trustee”) (Doc. No 41), and Series 10 of Cadence Group
                  Platform, LLC (Doc. No. 42) (“Cadence”); and
                  (2) the Motion for Turnover filed by the Trustee (Doc. No. 37), and the limited
                 objection thereto filed by Waterford Bank. (Doc. No. 43).
 The Court being advised that Waterford, the Trustee and Cadence have reached an agreement
 and resolution with respect to the above matters, and the Court finding that such agreement and
 resolution is just and proper under the circumstances, the Court hereby finds:
         That on August 23, 2021, an involuntary petition for bankruptcy relief was commenced
 against the Debtor, Commonwealth Business Credit, LLC (“Debtor”).
         On September 20, 2021, a Stipulation and Agreed Order for bankruptcy relief was
 entered by the Court. (Doc. No. 8).
         That Waterford asserts a claim in this case based upon a loan made by Waterford to the
 Debtor pursuant to a Note as attached as Exhibit A to its Motion for Relief from Stay and
 Abandonment.
        That Waterford asserts a first priority perfected lien on all of the Debtor’s personal
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 property,         Doc
           including     49 FILED
                     its accounts,    11/18/21
                                   pursuant        ENTERED
                                            to a security       11/18/21
                                                          agreement          17:03:34
                                                                      as attached       Page
                                                                                  as Exhibit    1 of
                                                                                             B to its 4
Motion for Relief from Stay and Abandonment. With respect to its secured claim, Waterford
submitted with its Motion for Relief from Stay and Abandonment, a UCC-1 filed by Waterford
with the Ohio Secretary of State on August 16, 2018, designated document number
OH00224055318.
         On October 20, 2021, Waterford filed its Motion for Relief from Stay and Abandonment.
(Doc. No. 33). In its Motion, Waterford asks that the stay of 11 U.S.C. § 362 be lifted so as to
permit Waterford to proceed against its collateral pursuant to applicable nonbankruptcy law.
Waterford’s Motion also asked that Waterford’s Collateral be abandoned pursuant to 11 U.S.C. §
554.
         On October 22, 2021, the Trustee filed a Motion for Turnover with respect to Waterford.
(Doc. No. 37). In said Motion, the Trustee asked for a court order requiring Waterford to (1)
turnover certain documents and information related to the Debtor’s business relationship with
Waterford; (2) turnover any funds received by Waterford, since the commencement of this case,
on account of its interest in the Debtor’s accounts; and (3) to account for any funds received by
Waterford. With respect to the Motion, Waterford filed a limited objection. (Doc. No. 43).
Accordingly, now based upon the agreement and resolution of Waterford and the Trustee, it is
hereby
         ORDERED that the Motion for Relief from Stay and Abandonment (Doc. No. 33) filed
by Waterford is hereby Granted subject to the terms and conditions of this Order.
         IT IS FURTHER ORDERED that the Motion for Turnover (Doc. No. 37) filed by the
Trustee is hereby Granted subject to the terms and conditions of this Order.
         IT IS FURTHER ORDERED that, subject to the terms and conditions of this Order, the
Objection filed by Cadence to the Motion for Relief from Stay and Abandonment filed by
Waterford is hereby deemed to be withdrawn.
         IT IS FURTHER ORDERED that the Stay of 11 U.S.C. § 362(a) is hereby terminated
and annulled so as to allow Waterford to proceed under applicable nonbankruptcy law with
respect to its Collateral, including but not limited to the collection on those accounts of the
Debtor in which Waterford claims an interest.
         IT IS FURTHER ORDERED any interest claimed by Waterford in the Debtor’s




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property shall not, pursuant to this Order, be abandoned pursuant to 11 U.S.C. § 554.
       IT IS FURTHER ORDERED that to the extent it has possession or custody of those
documents and information requested by the Trustee in the Motion for Turnover that Waterford
timely turnover such documents and information to the Trustee.
       IT IS FURTHER ORDERED that, pursuant to the Trustee’s Motion for Turnover,
Waterford Bank shall provide the Trustee with a monthly accounting of all funds it receives
based upon Waterford’s interest in the Debtor’s property.
       IT IS FURTHER ORDERED that Waterford shall not be required to turnover to the
Trustee any funds it receives based upon its collection on those accounts in which Waterford
claims an interest, including but not limited to the Debtor’s account with Sterling Commercial
Credit, LLC, and Waterford shall be entitled to apply any such funds received to its claim against
the Debtor, until such time as Waterford’s claim shall be satisfied in full. Any sums received
thereafter shall be turned over to the Trustee.
                                       IT IS SO ORDERED


Agreed and approved




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